     Case 1:13-cr-20704-TLL-PTM ECF No. 196, PageID.2393 Filed 05/18/17 Page 1 of 4


                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                NORTHERN DIVISION

TRADVIS DEMARR WILLIAMS,

              Petitioner                  CRIM. CASE NO: 1:13-cr-20704
                                          CIVIL CASE NO: 1:16-12987
v.                                        DISTRICT JUDGE THOMAS L. LUDINGTON
                                          MAGISTRATE JUDGE PATRICIA T. MORRIS
UNITED STATES OF AMERICA,

           Respondent.
_______________________________/

           MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION
                  ON PETITIONER’S 28 U.S.C. § 2255 MOTION
       TO VACATE, SET ASIDE, OR CORRECT SENTENCE and LIFTING STAY
                               (Doc. 177, 184)

I.      RECOMMENDATION

        For the reasons set forth below, IT IS RECOMMENDED that the stay entered in the case

be lifted (Doc. 184) and that Petitioner’s motion to vacate (Doc. 177) be DENIED.

II.     REPORT

        On September 10, 2013, Petitioner was charged in a criminal complaint with conspiracy to

distribute heroin and cocaine in violation of 21 U.S.C. § 846 and 841(a)(1). (Doc. 1.) Petitioner

was detained pending trial. (Doc. 12.) On September 25, 2013, Petitioner was indicted and charged

with conspiracy to possess with intent to distribute and to distribute cocaine base, cocaine, and

heroin in violation of 21 U.S.C. § 846 and 841(a)(1)(Count 1), three individual counts of

possession with intent to distribute cocaine and heroin in violation of 21 U.S.C. § 841(a)(1) and

841(b)(1)(A)(Counts 2-4) and use of a communication facility in facilitation the commission of

a felony under the controlled substance act in violation of 21 U.S.C. § 843(b)(Count 7). A

Superseding Indictment was filed on April 9, 2014, which changed the amounts involved in the
  Case 1:13-cr-20704-TLL-PTM ECF No. 196, PageID.2394 Filed 05/18/17 Page 2 of 4


conspiracy but the charges against Petitioner did not change. (Doc. 68.) On April 17, 2014,

Petitioner pleaded guilty to Count 2 of the superseding indictment. (Doc. 75.) Petitioner was

sentenced on August 27, 2014 and judgment entered on September 3, 2014, committing Petitioner

to the Bureau of Prisons for 270 months, to run concurrent with a state sentence imposed by the

57th Circuit Court in Petoskey, Michigan. (Doc. 104 at ID 845.) On August 16, 2016, Petitioner

filed the instant motion to vacate sentence. (Doc. 177.) On November 23, 2016, the case was

stayed pending the United States Supreme Court’s decision in Beckles.

       Petitioner’s sole assertion in his §2255 motion to vacate his sentence is that he was

improperly sentenced as a career offender under the sentencing guidelines based, in part, on a

conviction for carjacking. Petitioner’s claim rests entirely on the United States Supreme Court

holding in Johnson v. United States, 135 S. Ct. 2551 (2015).

       In Johnson, the Supreme Court held that the Armed Career Criminal Act’s (ACCA’s)

residual clause, i.e., the clause that defines a “violent felony” to include an offense that “involves

conduct that presents a serious potential risk of physical injury to another” is unconstitutionally

vague and violates due process. 18 U.S.C. § 924(e)(2)(B)(ii). The Supreme Court has further held

that Johnson has retroactive effect in cases on collateral review. Welch v. United States, 136 S. Ct.

1257, 1265 (2016); accord, In Re Watkins, 810 F.3d 375, (6th Cir. 2015).

       The Sixth Circuit held that since the United States Sentencing Guidelines (USSG) § 4B1.2

also contains a residual clause that is identical in wording to the residual clause in the ACCA, the

Johnson rationale applies equally to the sentencing guidelines residual clause defining a crime of

violence. USSG § 4B1.2(a); United States v. Pawlak, No. 15-3566, 2016 WL 2802723, at *8 (6th

Cir. Mar. 13, 2016). However, the United States Supreme Court in Beckles v. United States, 137



                                                  2
  Case 1:13-cr-20704-TLL-PTM ECF No. 196, PageID.2395 Filed 05/18/17 Page 3 of 4


S. Ct. 886 (Mar. 6, 2017), abrogated Pawlak and held that the sentencing guidelines are not subject

to a void-for-vagueness challenge. Therefore, the residual clause of the career offender sentencing

guidelines remains viable and any claims challenging the career offender guideline, including

Petitioner’s argument that carjacking is not a violent felony under the guideline, must fail.

       Thus, there is no Sixth Circuit or United States Supreme Court precedent showing that

Petitioner is entitled to any relief from his sentence.

       For all the reasons stated above, I recommend that Petitioner’s motion to vacate be denied.

III.   REVIEW

       Pursuant to Rule 72(b)(2) of the Federal Rules of Civil Procedure, “[w]ithin 14 days after

being served with a copy of the recommended disposition, a party may serve and file specific

written objections to the proposed findings and recommendations. A party may respond to another

party’s objections within 14 days after being served with a copy.” Fed. R. Civ. P. 72(b)(2). See also

28 U.S.C. § 636(b)(1). Failure to file specific objections constitutes a waiver of any further right

of appeal. Thomas v. Arn, 474 U.S. 140 (1985); Howard v. Sec’y of Health & Human Servs., 932

F.2d 505 (6th Cir. 1991); United States v. Walters, 638 F.2d 947 (6th Cir. 1981). The parties are

advised that making some objections, but failing to raise others, will not preserve all the objections

a party may have to this Report and Recommendation. Willis v. Sec’y of Health & Human Servs.,

931 F.2d 390, 401 (6th Cir. 1991); Smith v. Detroit Fed’n of Teachers Local 231, 829 F.2d 1370,

1373 (6th Cir. 1987). Pursuant to E.D. Mich. LR 72.1(d)(2), a copy of any objections is to be

served upon this magistrate judge.

       Any objections must be labeled as “Objection No. 1,” “Objection No. 2,” etc. Any objection

must recite precisely the provision of this Report and Recommendation to which it pertains. Not



                                                  3
  Case 1:13-cr-20704-TLL-PTM ECF No. 196, PageID.2396 Filed 05/18/17 Page 4 of 4


later than 14 days after service of an objection, the opposing party may file a concise response

proportionate to the objections in length and complexity. Fed. R. Civ. P. 72(b)(2); E.D. Mich. LR

72.1(d). The response must specifically address each issue raised in the objections, in the same

order, and labeled as “Response to Objection No. 1,” “Response to Objection No. 2,” etc. If the

Court determines that any objections are without merit, it may rule without awaiting the response.

Date: May 18, 2017                                  s/ Patricia T. Morris
                                                    Patricia T. Morris
                                                    United States Magistrate Judge




                                      CERTIFICATION

       I hereby certify that the foregoing document was electronically filed this date through
the Court’s CM/ECF system which delivers a copy to all counsel of record. A copy was also
sent via First Class Mail to Tradvis Demarr Williams #48987-039 at Sandstone Federal
Correctional Institution, Inmate Mail/Parcels, P.O. Box 1000, Sandstone, MN 55072.

Date: May 18, 2017                                  By s/Kristen Castaneda
                                                    Case Manager




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